                          Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 1 of 18



                      1   David M. Birka-White (State Bar # 85721)           Charles E. Schaffer (State Bar # PA76259)
                          dbw@birka-white.com                                cschaffer@lfsblaw.com
                      2   Laura A. Carrier (State Bar # 220154)              David C. Magagna, Jr. (State Bar # PA322436)
                      3   lcarrier@birka-white.com                           dmagagna@lfsblaw.com
                          BIRKA-WHITE LAW OFFICES                            LEVIN SEDRAN & BERMAN, LLP
                      4   178 E. Prospect Avenue                             510 Walnut Street, Suite 500
                          Danville, CA 94526                                 Philadelphia, PA 19106
                      5   Telephone: (925) 362-9999                          Telephone: (215) 592-1500
                                                                             Facsimile: (215) 592-4663
                      6

                      7   John D. Green (State Bar # 121498)
                          jgreen@fbm.com
                      8   FARELLA BRAUN & MARTEL LLP
                          235 Montgomery Street, 17th Floor
                      9   San Francisco, California 94104
                          Telephone: (415) 954-4400
                   10
                          Facsimile: (415) 954-4480
                   11
                          Attorneys for Individual and Representative
                   12     Plaintiffs STEVE R. ROJAS and ANDREA N.
                          ROJAS, on behalf of themselves and all others
                   13     similarly situated
                   14                                 UNITED STATES DISTRICT COURT
                   15                             NORTHERN DISTRICT OF CALIFORNIA
                   16                                       (SAN JOSE DIVISION)
                   17
                                                                          Case No. 5:18-cv-5841BLF
                   18      STEVE R. ROJAS and ANDREA N.
                           ROJAS, on behalf of themselves and all
                   19      others similarly situated,                     DECLARATION OF RICHARD W.
                                                                          SIMMONS REGARDING
                   20                        Plaintiffs,                  IMPLEMENTATION OF NOTICE PLAN
                   21             vs.                                     DATE:     April 6, 2023
                                                                          TIME:     9:00 a.m.
                   22      BOSCH SOLAR ENERGY                             LOCATION: Courtroom 3, 5th Floor
                           CORPORATION; and DOES 1-20,
                   23      inclusive,                                               280 S. First Street
                                                                                    San Jose, CA 95113
                   24                        Defendants.
                                                                          The Honorable Judge Beth Labson Freeman
                   25                                                     Action Filed:       September 24, 2018
                   26

                   27

                   28
Birka-White Law Offices
178 E. Prospect Avenue
  Danville, CA 94526
                                                            1                               Case No. 5:18-cv-5841BLF
    (925) 362-9999
                           DECLARATION OF RICHARD W. SIMMONS
                           REGARDING IMPLEMENTATION OF NOTICE PLAN
                          Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 2 of 18



                      1         I, Richard W. Simmons, declare as follows:
                      2            1.     My name is Richard W. Simmons. I have personal knowledge of the matters set
                      3   forth herein, and I believe them to be true and correct.
                      4            2.     I am the President of Analytics Consulting LLC (“Analytics”)1. My company is one
                      5   of the leading providers of class and collective action notice and claims management programs in
                      6   the nation. Analytics’ class action consulting practice, including the design and implementation of
                      7   legal notice campaigns, is one of the oldest in the country. Through my work, I have personally
                      8   overseen court-ordered class and collective notice programs in more than 2,500 matters.
                      9            3.     In its Order Preliminarily Certifying Settlement Class, Granting Preliminary
                   10     Approval of Settlement, and Approving Class Notice on September 21, 2022 (the “September 21,
                   11     2022 Order”), the Court approved the Settlement Class Notice Plan (the “Notice Plan” or Plan)
                   12     proposed in the Settlement Agreement in Rojas v. Bosch Solar Energy Corp., Case No. 5:18-cv-
                   13     5841BLF (N.D. Cal.). Subsequently, Counsel retained Analytics to implement Notice Plan,
                   14     including the mailing of the Class Notice to all known Class Members and the establishment of a
                   15     toll-free hotline and dedicated email address to assist Class Members with questions regarding the
                   16     Settlement.
                   17              4.     Analytics performed the services described herein under my supervision and I
                   18     submit this Declaration to provide the Court with proof of the dissemination of the Court-approved
                   19     Notices.
                   20                                                CAFA Notice
                   21              5.     On December 7, 2022, Analytics served CAFA Notice to the 50 state Attorneys
                   22     General as well as the Attorney General of the United States, pursuant to 28 U.S.C. §1715. A
                   23     representative sample of the CAFA Notice is attached as Exhibit A.
                   24     ///
                   25     ///
                   26     ///
                   27     1
                           In October 2013, Analytics Consulting LLC acquired Analytics, Incorporated. I am the former
                   28     President of Analytics, Incorporated (also d/b/a “BMC Group Class Action Services”).
Birka-White Law Offices
                          References to “Analytics” herein include the prior legal entity.
178 E. Prospect Avenue
  Danville, CA 94526
                                                                                2           Case No. 5:18-cv-5841BLF
    (925) 362-9999
                           DECLARATION OF RICHARD W. SIMMONS
                           REGARDING IMPLEMENTATION OF NOTICE PLAN
                          Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 3 of 18



                      1                                          Mailing of the Notice
                      2          6.      Pursuant to the September 21, 2022 Order, Analytics received from the Defendant
                      3   a data file identifying, after accounting for duplication, 237 Class Members. All addresses were
                      4   updated using the National Change of Address (“NCOA”) database maintained by the United States
                      5   Postal Service (“USPS”);2 certified via the Coding Accuracy Support System (“CASS”);3 and
                      6   verified through Delivery Point Validation (“DPV”).4 The address list was then reviewed to
                      7   identify and consolidate duplicate entries. When available, Notices were sent to the installation
                      8   locations as well, in care of the current owner, even if there was an alternate address where research
                      9   indicated the current owner receives mail.
                   10            7.      These measures ensured that all appropriate steps have been taken to send Notices
                   11     to current and valid addresses and resulted in mailable address records for 397 Class Members.
                   12            8.      Analytics formatted the Class Notice and Claim Forms and caused them to be
                   13     printed, personalized with the name and address for each Class Member, posted for First-Class Mail
                   14     and delivered on December 29, 2022 to the USPS for mailing. All notice mailings were in a
                   15     stamped, personalized envelope, designed to capture the attention of recipients by conforming to
                   16     FJC and NDCA standards. A copy of the Class Notice is attached as Exhibit B.
                   17            9.      Subsequent to the initial mailing of the Class Notice on December 22, 2022,
                   18     Analytics received names and addresses for an additional 178 Class Members. These Class Notices
                   19     were mailed upon receipt of the addresses in manner consistent with the initial Class Mailing.
                   20            10.     Analytics requested that the USPS return (or otherwise notify Analytics) of Class
                   21     Notices with undeliverable mailing addresses. Of the 415 notices mailed, only nineteen were
                   22     returned undeliverable, and, within three days of receipt, Analytics was able to locate updated
                   23     addresses for and remail notices to six of those. This research was performed using Experian’s
                   24     2
                            The NCOA database contains records of all permanent change of address submissions received
                   25     by the USPS for the last four years. The USPS makes this data available to mailing firms and
                          lists submitted to it are automatically updated with any reported move based on a comparison
                   26     with the person’s name and last known address.
                          3
                            The CASS is a certification system used by the USPS to ensure the quality of ZIP +4 coding
                   27     systems.
                          4
                            Records that are ZIP +4 coded are then sent through Delivery Point Validation (“DPV”) to
                   28     verify the address and identify Commercial Mail Receiving Agencies. DPV verifies the accuracy
Birka-White Law Offices
                          of addresses and reports exactly what is wrong with incorrect addresses.
178 E. Prospect Avenue
  Danville, CA 94526
                                                                                 3             Case No. 5:18-cv-5841BLF
    (925) 362-9999
                            DECLARATION OF RICHARD W. SIMMONS
                            REGARDING IMPLEMENTATION OF NOTICE PLAN
                          Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 4 of 18



                      1   TrueTrace and Metronet Databases, research tools that draw upon Experian’s credit reporting
                      2   database as well as additional third-party sources5.
                      3                                            Published Notice
                      4          11.     The direct notice in this matter was supplemented by published notice. Following
                      5   the distribution of the Notice, a short-form notice was distributed by email to approximately 10,000
                      6   solar installers in the Unites States by Solar Builder Magazine. This included the toll-free number
                      7   and website address so Class Members could easily obtain more information, if they desired.
                      8   Additionally digital advertisements were run on a website maintained by Solar Builder Magazine
                      9   (www.solarbuildermag.com). These advertisements linked directly to the settlement website.
                   10                              Case Website and Toll-free Telephone Number
                   11            12.     Prior to December 29, 2022, Analytics established and continues to maintain a
                   12     Website dedicated to this Action (www.rojassolarsettlement.com.com.) to assist Class Members.
                   13     The Website address was set forth in the Notice.
                   14            13.     Recognizing the increasingly mobile nature of communications, the Website is
                   15     mobile optimized, meaning it can be clearly read and used by Class Members visiting the Website
                   16     via smart phone or tablet.
                   17            14.     By visiting the Website, Class Members are able to read and download key
                   18     information about the litigation, including, without limitation:
                   19                    a.      important dates and deadlines;
                   20                    b.      answers to frequently asked questions; and
                   21                    c.      case documents, including the Class Notice and other relevant case
                   22                            documents such as the Settlement Agreement.
                   23            15.     Beginning on December 29, 2022, Analytics established and continues to maintain
                   24     a toll-free telephone number for the Action, 1-877-441-2792. This toll-free telephone line connects
                   25     callers with an Interactive Voice Recording (“IVR”). By calling this number, Class Members are
                   26     5
                            TrueTrace draws on Experian’s consumer credit database of more than 200 million consumers
                   27     and 140 million households, and through third party sources (Clarity’s alternative payday
                          information and Experian RentBureau property management database) provides access to 100
                   28     million thin-file and underbanked consumers. Experian’s Metronet database provides data
Birka-White Law Offices
                          regarding 215 million consumers in 110 million living units across United States.
178 E. Prospect Avenue
  Danville, CA 94526
                                                                               4              Case No. 5:18-cv-5841BLF
    (925) 362-9999
                            DECLARATION OF RICHARD W. SIMMONS
                            REGARDING IMPLEMENTATION OF NOTICE PLAN
Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 5 of 18
Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 6 of 18




                     EXHIBIT A
             Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 7 of 18


December 7, 2022

VIA FEDEX

TO:     ALABAMA ATTORNEY GENERAL
        STEVE MARSHALL
        501 WASHINGTON AVE
        PO BOX 300152
        MONTGOMERY, AL 36130-0152

Re:     Rojas v. Bosch Solar Energy Corporation
        United States District Court (Northern District of California), Case No. 5:18-cv-5841BLF.

        CAFA Notice Pursuant to 28 U.S.C. § 1715

To Whom It May Concern:

Analytics Consulting LLC ("Analytics"), an independent claims administrator, on behalf of Bosch Solar Energy
Corporation (“Defendant”), the Defendant in the above-captioned action, hereby provides your office with this notice
under the provisions of the Class Action Fairness Act ("CAFA"), 28 U.S.C. § 1715, to advise you of the proposed
settlement of the above-referenced class action (the "Class Action") venued in the U.S. District Court for the Northern
District of California. In this action, the plaintiff alleged that the Defendant sold certain solar panels that suffer from
two defects-a soldering defect that causes overheating and power loss, and a "backsheet" defect that causes cracks
and allows water penetration-and that both defects create dangerous fire hazards. Further, plaintiffs' Third Amended
Complaint asserts claims for Breach of Warranty, Magnuson-Moss Breach of Express Warranty, and Unjust
Enrichment (collectively, the "Allegations").

In accordance with the requirements of 28 U.S.C. § 1715, please find copies of the following documents associated
with this action on the enclosed CD-ROM:

(1)     The Complaint and any materials filed with the Complaint.

        The operative complaint (Dkt. No.1 244) in the Class Action is contained on the enclosed CD. In addition,
        the complaint and all other unsealed pleadings and records filed in the Class Action are available on the
        internet through the federal government's PACER service at https://ecf.cand.uscourts.gov/cgi-
        bin/ShowIndex.pl. Additional information about the PACER service may be found at https://www.pacer.gov.

(2)     Notice of any scheduled judicial hearing in the class action.

        The Court has scheduled a Fairness Hearing on April 26, 2023 at 9:00 a.m. Any information concerning any
        changes to the date, time, and location of the Fairness Hearing will be available through PACER and can be
        accessed as described in section (1) above.

(3)     Any proposed or final notification to class members.

        Plaintiff's Unopposed Notice of Motion and Unopposed Motion for Preliminary Approval of Class Action
        Settlement (Dkt. No. 236), Declaration of David M. Birka-White in Support of Plaintiffs' Notice of Motion
        and Unopposed Motion for Preliminary Approval of Class Action Settlement (Dkt. No. 236-1), and the other
        declarations filed in support of the motion (Dkt. No. 236-2, 236-2, and 236-4) are contained on the enclosed
        CD. The parties' Settlement Agreement is attached as Exhibit B to the Declaration of David M. Birka-White
        in Support of Plaintiffs' Notice of Motion and Unopposed Motion for Preliminary Approval of Class Action
        Settlement (Dkt. No. 236-1), and the proposed form of direct notice to the proposed settlement class is



1
        Citations to "Dkt. No. __" refer to docket entries in Case No. 5:18-cv-5841BLF (N.D. Cal.)
             Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 8 of 18


        attached to that agreement as Exhibit C. The proposed form of direct notice provides notice of the proposed
        settlement and the rights of the members of the proposed settlement class to object to the proposed settlement.

(4)     Any proposed or final class action settlement.

        As discussed in section (3) above, the parties' Settlement Agreement is included on the enclosed CD.

(5)     Any settlement or other agreement contemporaneously made between class counsel and counsel for
        defendants.

        There are no additional agreements contemporaneously made between class counsel and counsel for the
        Defendants, other than those reflected in the materials described in section (3) above.

(6)     A final judgment or notice of dismissal.

        No final judgment or notice of dismissal has yet been entered in the Class Action. Upon entry, a copy of the
        final order and judgment will be available through PACER and can be accessed as described in section (1)
        above.

(7)     If feasible, the names of class members who reside in each state and the estimated proportionate share
        of the claims of such members to the entire settlement.

        At this time, it is not feasible to provide the specific names of all settlement class members by the state in
        which they reside. Nor is it feasible at this time to estimate the proportionate share of the claims of such
        members to the entire settlement. Upon final approval by the Court, the settlement proceeds will be
        distributed among the settlement class members according to the set forth in the Class Action Settlement
        Agreement).

(8)     Any written judicial opinion relating to the materials described in sections (3) through (6).

        The Court has not entered any written judicial opinions related to sections (3) through (6) above.

The Defendants in this matter are represented by Joseph C. Wylie of K&L Gates LLP, 70 West Madison, Suite 3100
Chicago, Illinois 60602. Should you have any questions regarding this matter, please do not hesitate to contact Mr.
Wylie at 312-807-4439 (email: joseph.wylie@klgates.com).

Thank you for your attention to this matter.

Sincerely,

Office of the Claims Administrator


Enclosures
Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 9 of 18




                 EXHIBIT B
                Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 10 of 18
          UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA


              Class action settlement notice:
        Bosch solar panels model c-Si M NA30119
         were recalled due to fire risk. Act now
          to have your panels replaced for free.
                A court authorized this notice. This is not a solicitation from a lawyer. Read this carefully.

• A proposed settlement has been reached in a class-action lawsuit about an alleged defect in Bosch Solar Energy
  Corporation (“Bosch Solar”) solar panels model c-Si M NA30119 (“NA30119”) claiming the solder joints pose a fire
  safety risk. Other Bosch Solar panels are not affected. Bosch Solar started a voluntary recall of NA30119 units and under
  the settlement will replace roof and ground mounted NA30119 units at no cost to current owners who submit claims.
• Act now to submit a claim form and a photo of your panels, or to exercise other rights.
• If you are included, your legal rights are affected whether you act or not.


                                      CLASS MEMBER RIGHTS AND OPTIONS:


      SUBMIT A CLAIM FORM                  Request free replacement panels, as described in this notice.


                                           Also called “opting out.” The only option that allows you to sue Bosch Solar
      ASK TO BE EXCLUDED
                                           over the claims resolved by this settlement.


      OBJECT                               Write to the Court about why it should reject the settlement.


      GO TO A HEARING                      Ask to speak in Court about an objection.


      DO NOTHING                           Get no replacement panels. Give up rights to sue.


• If you own these panels—OR own a property on which they are installed (for example you might be leasing them from a
  solar company) you have 25 years from when they were purchased OR until December 31, 2038 (whichever is earlier)
  to submit a claim. But act soon to make sure the panels are replaced as quickly as possible.
• If you want to be Excluded (opt out) or Object you must do so by February 3, 2023.
• The Court in charge of this case will listen to any objections and decide whether to approve the settlement, and it will hold
  a hearing on April 6, 2023.
                       Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 11 of 18
                                                            WHAT THIS NOTICE CONTAINS
                                                                                                                                                                                Page
BASIC INFORMATION................................................................................................................................................................. 3
   1. Why was this notice issued?................................................................................................................................................ 3
   2. What is this lawsuit about?.................................................................................................................................................. 3
   3. Is there something wrong with the NA30119 Panels?......................................................................................................... 3
   4. What is a class action?......................................................................................................................................................... 3
   5. Why is there a settlement?................................................................................................................................................... 3
WHO IS IN THE SETTLEMENT................................................................................................................................................. 3
  6. How do I know if I am part of the settlement?.................................................................................................................... 3
  7. Which solar panels are included?......................................................................................................................................... 3
  8. What do the solar panels look like?..................................................................................................................................... 4
  9. If I own a property where they are installed, but lease the panels, am I included?.............................................................. 4
 10. Are there exceptions to being included?.............................................................................................................................. 4
 11. I’m still not sure I’m included.............................................................................................................................................. 4
THE SETTLEMENT BENEFITS—WHAT YOU GET.............................................................................................................. 4
  12. What benefits does the settlement provide?......................................................................................................................... 4
  13. How much time do I have to request replacement?............................................................................................................. 5
  14. Will the replacement panels work the same way?............................................................................................................... 5
  15. Can I get money instead of replacement?............................................................................................................................ 5
HOW TO GET YOUR PANELS REPLACED—SUBMITTING A CLAIM FORM................................................................ 5
  16. How can I request replacement of my panels?..................................................................................................................... 5
  17. How will my claim be evaluated?........................................................................................................................................ 5
  18. When will my panels be replaced?....................................................................................................................................... 5
  19. What am I giving up if I stay in the Class and/or request replacement?.............................................................................. 5
EXCLUDING YOURSELF FROM THE SETTLEMENT......................................................................................................... 5
  20. How do I get out of the settlement?..................................................................................................................................... 6
  21. If I don’t exclude myself, can I sue Bosch Solar for the same thing later?.......................................................................... 6
  22. If I exclude myself, can I get my NA30119 solar panels replaced?..................................................................................... 6
THE LAWYERS REPRESENTING YOU.................................................................................................................................... 6
  23. Do I have a lawyer in this case?........................................................................................................................................... 6
  24. How will the lawyers be paid?............................................................................................................................................. 6
  25. Will the Class Representatives receive a cash payment?..................................................................................................... 6
OBJECTING TO THE SETTLEMENT....................................................................................................................................... 6
  26. Why would I object to the settlement?................................................................................................................................. 6
  27. How do I object to the settlement?....................................................................................................................................... 7
  28. What do I have to include in an objection?.......................................................................................................................... 7
  29. What’s the difference between objecting and asking to be excluded?................................................................................. 7
THE COURT’S FAIRNESS HEARING........................................................................................................................................ 7
  30. When and where will the Court decide whether to approve the settlement?....................................................................... 7
  31. How do I request to appear at the Fairness Hearing?........................................................................................................... 7
  32. Do I have to come to the Fairness Hearing?........................................................................................................................ 8
  33. May I speak at the Fairness Hearing?.................................................................................................................................. 8
IF YOU DO NOTHING................................................................................................................................................................... 8
   34. What happens if I do nothing at all?.................................................................................................................................... 8
GETTING MORE INFORMATION............................................................................................................................................. 8
  35. How do I get more information about the settlement?......................................................................................................... 8
              QUESTIONS? CALL 1-877-441-2792 TOLL FREE, OR VISIT WWW.ROJASSOLARSETTLEMENT.COM
                                                         2
                Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 12 of 18
                                                 BASIC INFORMATION

1. Why was this notice issued?
A Court authorized this notice because you have a right to know about a proposed settlement of this class action, including
the right to request free replacement panels, and about all your other options, before the Court decides whether to give “final
approval” to the settlement. This notice explains the lawsuit, the settlement, your legal rights, what benefits are available,
who may be eligible for them, and how to get them.
Judge Beth Labson Freeman is overseeing this class action. The case is known as Rojas v. Bosch Solar Energy Corp., Case
No. 5:18-cv-5841BLF in the United States District Court for the Northern District of California, San Jose division. The
people who sued are called the “Plaintiffs,” and the companies they sued, together referred to as “Bosch Solar,” are called
the “Defendants.”

2. What is this lawsuit about?
The lawsuit claimed the NA30119 panels were defective and pose a fire risk. The suit said Bosch Solar breached its warranty,
was unjustly enriched, and the suit sought replacement of all roof and ground mounted panels. Bosch Solar denies these
claims, maintains that it acted lawfully, and voluntarily recalled all roof mounted panels.

3. Is there something wrong with the model NA30119 panels?
Bosch Solar determined that where electrical contacts to the solder had degraded, the resulting resistance could result in
heat, and that it was theoretically possible for a fire to result. No fires have been reported. Bosch Solar voluntarily recalled
roof mounted panels under the United States Consumer Product Safety Commission (“CPSC”) Fast Track Recall process.
The CPSC says the solar panels can overheat, posing a risk of fire.

4. What is a class action?
In a class action, one or more people called “Class Representatives” (in this case, Steve R. Rojas and Andrea N. Rojas), sue
on behalf of people who have similar claims. All these people are a “Class” or “Class members.” One court resolves the
issues for everyone except those who exclude themselves from the Class.

5. Why is there a settlement?
The Court did not decide who is right. Instead, both sides agreed to settle. That way, they avoid a costly trial, and all the
affected panels can be replaced for free. The Class Representatives and their attorneys think the settlement is best for all
Class members. The settlement does not mean that Bosch Solar did anything wrong.

                                           WHO IS IN THE SETTLEMENT
To see if you can get benefits from this settlement, you first must decide if you are a Class member.

6. How do I know if I am part of the settlement?
Judge Freeman decided that everyone who fits this description is a Class Member: All persons or entities in the United States
who are the current owners of Bosch c-Si M 60 NA30119 solar modules or the current owners of premises on which Bosch
c-Si M 60 NA30119 solar modules are installed. Continue reading to learn more.

7. Which solar panels are included?
The solar panels are Bosch model c-Si M 60 NA30119, which were sold through distributors and commercial installers
nationwide from October 2011 through May 2013 for about $300 per panel. At this time, Bosch Solar believes most of the
remaining NA30119 solar panels are installed in southern California.



          QUESTIONS? CALL 1-877-441-2792 TOLL FREE, OR VISIT WWW.ROJASSOLARSETTLEMENT.COM
                                                     3
               Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 13 of 18
8. What do the solar panels look like?
Each panel measures approximately 65 inches by 39 inches by 1.65 inches. Each c-Si M 60 NA30119 panel contains 60
cells, arranged in 10 rows of 6 cells. Each cell is marked with the Bosch brand logo. The frame edge of the panel is smooth,
with no grooves. These pictures may help you identify the panels:




 Closeup of one of the sixty (60) cells    The front of one entire NA30119          The frame edge showing its smooth
 (above).                                  panel showing the sixty (60) cells.      flat surface, without grooves.
 Closeup of the Bosch logo that appears
 in the corner of each cell (below).


9. If I own a property where they are installed, but lease the panels, am I included?
Yes. You are a class member and may file a claim for replacement if you own the property where the NA30119 panels are
installed even if you lease the panels from a solar company. You are also a class member if you own the panels but not the
property on which they are installed.

10. Are there exceptions to being included?
You are not a class member if you already had your NA30119 panels replaced under the recall or warranty. Also, you are
not a class member if you own an array of one hundred (100) or more ground mounted NA30119 panels. There are other
exclusions listed in the Settlement Agreement to be found at the website listed below.

11. I’m still not sure I’m included.
If you are not sure whether you are included, call the toll-free number: 1-877-441-2792.

                             THE SETTLEMENT BENEFITS—WHAT YOU GET

12. What benefits does the settlement provide?
The settlement provides full replacement of NA30119 panels that are still installed on the roofs of structures or that are

          QUESTIONS? CALL 1-877-441-2792 TOLL FREE, OR VISIT WWW.ROJASSOLARSETTLEMENT.COM
                                                     4
               Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 14 of 18
mounted on the ground. A Settlement Agreement, available at www.RojasSolarSettlement.com, describes all of the details
about the proposed settlement.

13. How much time do I have to request replacement?
If you have the NA30119 panels, you have 25 years from the date they were originally purchased, or until December 31,
2038, whichever is earlier. The panels were sold between 2011 and 2013. If you don’t know when they were purchased, you
should submit your claim anyway, as soon as possible.

14. Will the replacement panels work the same way?
The new panels may differ in size, color, shape, model number, or manufacturer, but the output of your replacement panels
will provide the same or greater power than your Bosch Solar NA30119 solar array.

15. Can I get money instead of replacement?
No. The settlement provides for replacement panels to remedy the claims made in the lawsuit.

              HOW TO GET YOUR PANELS REPLACED—SUBMITTING A CLAIM FORM

16. How can I request replacement of my panels?
Complete and submit a claim form to request replacement. The claim form is attached to this notice if you received it in the
mail. You may also find one at www.RojasSolarSettlement.com. Be sure to include pictures of your solar panels and other
helpful information requested in the claim form. Send your submission to:
                                                Rojas v. Bosch Solar Energy
                                               c/o Analytics Consulting LLC
                                                       P.O. Box 2004
                                               Chanhassen, MN 55317-2004

17. How will my claims for replacement be evaluated?
The Claims Administrator will review your claim form and then possibly inspect your array to confirm you have NA30119
panels. If so, they will be replaced. Otherwise, they will not be.

18. When will my panels be replaced?
If your panels are NA30119 panels, Bosch Solar will replace them as soon as practicable after receipt of your claim form.
Bosch Solar will not delay the replacement of the panels based on any objections to the settlement.

19. What am I giving up if I stay in the Class or request replacement?
Unless you exclude yourself, you are staying in the Class, and that means that you can’t sue Bosch Solar over the claims in
this case. It also means that all the Court’s orders will apply to you and legally bind you. Whether you submit a claim form
not, if you do not opt out of the Class (see below), you will agree to “release and discharge” Bosch Solar as described in the
Settlement Agreement. The Settlement Agreement can be obtained at www.RojasSolarSettlement.com, and it specifically
describes the released claims in necessarily accurate legal terminology. Talk to Class Counsel (see below), or your own
lawyer, if you have questions about the released claims.

                            EXCLUDING YOURSELF FROM THE SETTLEMENT
If you want to keep the right to sue Bosch Solar about the issues in this case, then you must take steps to get out, called
“excluding yourself” from—sometimes referred to as “opting out” of—the Settlement Class.



          QUESTIONS? CALL 1-877-441-2792 TOLL FREE, OR VISIT WWW.ROJASSOLARSETTLEMENT.COM
                                                     5
                Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 15 of 18
20. How do I get out of the settlement?
To exclude yourself from the settlement, you must send a letter by mail saying that you want to be excluded from Rojas v.
Bosch Solar Energy. Be sure to include your full name, address, telephone number, and your signature. Include the address
where your NA30119 panels are installed and how many you own. You must mail your exclusion request postmarked by
February 3, 2023 to:
                                                      Rojas Exclusions
                                                c/o Analytics Consulting LLC
                                                       P.O. Box 2004
                                                Chanhassen, MN 55317-2004
You can’t exclude yourself on the phone, by email, or at the website.

21. If I don’t exclude myself, can I sue Bosch Solar for the same thing later?
No. If you do not exclude yourself, you may never sue (or be part of any other class action against) Bosch Solar over the
claims resolved by this settlement. Remember, the exclusion deadline is February 3, 2023.

22. If I exclude myself, can I get my NA30119 solar panels replaced?
Yes. If you exclude yourself, you may still ask for replacement panels under the recall process.

                                      THE LAWYERS REPRESENTING YOU

23. Do I have a lawyer in this case?
The Court has appointed Birka-White Law Offices, 178 E. Prospect Ave, Danville, CA 94526; Levin Sedran & Berman LLP,
510 Walnut Street, Suite 500, Philadelphia, PA 19106; and Farella Braun + Martel, 235 Montgomery Street, San Francisco,
CA 94104 to represent you and other Class members. Together they are called “Settlement Class Counsel”. You do not have
to pay them. If you want to be represented by your own lawyer (perhaps to have that lawyer appear in Court for you), you
may hire one at your own expense.

24. How will the lawyers be paid?
If the Court approves the settlement, Bosch Solar will pay Settlement Class Counsel $1,400,000 to cover their fees and
expenses. Class members will not be charged for this payment, and it will not affect panel replacements. Bosch Solar will
also separately pay the costs to identify and notify Class members, and to administer the settlement.

25. Will the Class Representatives receive a cash payment?
If the Court approves the settlement, Settlement Class Counsel will ask the Court to approve an incentive award of up to
$10,000 total to be paid by Bosch Solar to Steve and Andrea Rojas, in recognition of the time and effort they spent helping
counsel pursue the class action and settlement on behalf of all other Class members. The Rojas’ are also entitled to claim
replacement panels like other Class members. There is no other agreement to provide payments to Plaintiffs or other parties.

                                       OBJECTING TO THE SETTLEMENT
Class members may object to the settlement and ask the Court to reject it. The Court will consider your views.

26. Why would I object to the settlement?
If you are opposed to the settlement, you can object to its approval. You can’t ask the Court to order a different settlement;
the Court can only approve or reject this settlement. If the Court denies approval, you will not be bound by it, and the lawsuit
will continue. If that is what you want to happen, you should object.


          QUESTIONS? CALL 1-877-441-2792 TOLL FREE, OR VISIT WWW.ROJASSOLARSETTLEMENT.COM
                                                     6
                Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 16 of 18
27. How do I object to the settlement?
To object, you must write a letter to the Court and include the information in Question 28. The Court will enter it into the
electronic filing system for the public record. If you want to object, be sure to send your objection by February 3, 2023 to:

                                                       Clerk of Court
                                                    San Jose Courthouse
                                                   Courtroom 3, 5th Floor
                                                    280 South 1st Street
                                                    San Jose, CA 95113

28. What do I have to include in an objection?
You must indicate the case name: Rojas v. Bosch Solar Energy, and the case number: 5:18-cv-5841BLF. State your full
name, address, telephone number, and signature. You must provide the address where your NA30119 panels are installed,
and how many you own. You must state the specific grounds for your objection, whether it affects only you, a specific subset
of Class members, or the whole Class. You must also indicate whether you intend to appear at the Fairness Hearing (See
below).

29. What’s the difference between objecting and asking to be excluded?
Objecting is telling the Court that you oppose approval of the settlement. You can object only if you stay in the Class. This
means that you may not exclude yourself and also object.

                                       THE COURT’S FAIRNESS HEARING
The Court will hold a hearing to decide whether to approve the settlement. You may attend and you may ask to speak, but
you don’t have to.

30. When and where will the Court decide whether to approve the settlement?
The Court has scheduled a Fairness Hearing at 9:00 a.m. on April 6, 2023, at the San Jose Courthouse, Courtroom 3, 5th Floor,
280 South 1st St., San Jose, CA 95113. You may also attend by zoom using the instructions at www.RojasSolarSettlement.
com. At this hearing, the Court will consider whether the settlement is fair, reasonable, and adequate. If there are objections,
the Court will consider them. The Judge will listen to people who have asked to speak about an objection. At or after the
hearing, the Court will decide whether to approve the settlement. We do not know how long this decision will take. The
hearing may be moved to another day, time, or location, so check www.RojasSolarSettlement.com for updates.

31. How do I request to appear at the Fairness Hearing?
If you or your separate attorney (if you have one) wish to appear at the Fairness Hearing, send a signed letter with your
name/address/phone number, and your attorney’s name/address/phone number/bar number. Include a list of any witnesses
you intend to call at the Fairness Hearing, the address of each witness, a summary of his or her proposed testimony, and
copies of all exhibits you intend to introduce at the Fairness Hearing. Note: you do not need a lawyer to ask to appear at the
Fairness Hearing. Send your request by February 3, 2023 to:

                                                       Clerk of Court
                                                    San Jose Courthouse
                                                   Courtroom 3, 5th Floor
                                                    280 South 1st Street
                                                    San Jose, CA 95113

32. Do I have to come to the Fairness Hearing?
No. Settlement Class Counsel and the lawyers for Bosch will answer questions that the Judge may have. But you are

          QUESTIONS? CALL 1-877-441-2792 TOLL FREE, OR VISIT WWW.ROJASSOLARSETTLEMENT.COM
                                                     7
                Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 17 of 18
welcome to come at your own expense. If you send an objection, you don’t have to come to Court to talk about it. If you
filed and mailed your written objection on time, the Court will consider it. You may also pay your own lawyer to attend, but
it’s not necessary.

33. May I speak at the Fairness Hearing?
If you submitted an objection to the settlement and you asked to appear at the Fairness Hearing (be sure you provide all the
information identified in this notice), you may ask the Court for permission to speak at the Fairness Hearing. You cannot
speak at the hearing if you exclude yourself.

                                                 IF YOU DO NOTHING

34. What happens if I do nothing at all?
If you do nothing, you will not have the solar panels replaced, leaving a potential fire risk in place. But you’ll release Bosch
Solar and never be able to sue Bosch Solar for the claims in this case.

                                         GETTING MORE INFORMATION

35. How do I get more information about the settlement?
This notice summarizes the proposed settlement. For the precise terms of the settlement, please see the Settlement Agreement
at www.RojasSolarSettlement.com, by contacting class counsel through that website, by accessing the Court docket in this
case for a fee through the Court’s Public Access to Court Electronic Records (PACER) system at https://ecf.cand.uscourts.
gov, or by visiting the office of the Clerk of the Court for the United States District Court for the Northern District of
California, 280 South 1st Street, San Jose, CA 95113, between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding
Court holidays. Please do not telephone the Court or the Court Clerk’s office to inquire about this settlement or the claim
process.




          QUESTIONS? CALL 1-877-441-2792 TOLL FREE, OR VISIT WWW.ROJASSOLARSETTLEMENT.COM
                                                     8
                   Case 5:18-cv-05841-BLF Document 249-2 Filed 03/23/23 Page 18 of 18
                                                                 CLAIM FORM
                      For replacement of Bosch solar panels model c-Si M NA30119




This claim form is to request replacement of Bosch solar panels model c-Si M NA30119. Read the detailed notice at www.RojasSolarSettlement.com to
get information describing the panels and pictures of what they look like. Each panel is 65 inches high by 39 inches wide by 1.65 inches thick. Each panel
contains 60 cells, arranged in 10 rows of 6 cells. Each cell is marked with the Bosch brand logo. The edge of the panel’s frame is smooth, with no grooves.

                                                 Where are your Panels Installed?
 Street Address:                                                              City:

 Street Address:                                                              State:                            Zip:

                                                            System Information
 How many Bosch NA30119 solar panels are installed in your solar array: _______

 Are your Bosch NA30119 solar panels:                roof mounted                ground mounted
 If you know the name of the company that installed your system, please provide:
 If you know the approximate date your system was installed, please provide (month/day/year): ____ / ____ / _________

                                                                 Photographs
 Please send clear photographs of the building or the location of the solar panel array on which the Bosch Solar NA30119 panels are
 installed. If you are filling this form out online, follow instructions to upload them. The ideal photos will show:
     •   The front of a Bosch NA30119 solar panel showing all sixty (60) cells arranged in 10 rows of six each.
     •   A close-up of one of the sixty (60 cells) showing the Bosch logo in the corner.
     •   The side of the panel showing it is flat and smooth and does not have a groove.
 Do you know of any co-owners of the Panels? (Provide name and address; use a separate sheet if necessary)


                                                                  Documents
 If you have it, please send the original purchase documentation for your Bosch NA30119 solar panel array. This will expedite your replacement.
 If you don’t have it, please submit your claim form anyway.
                                                    Customer/Owner Information
 Name:                                                                        State:                            Zip:

 Street Address:                                                              Cell Phone #:

 Street Address:                                                              Other Phone #:

 City:                                                                        Email Address:

                                                                    Signature
 I will provide all information and/or additional materials reasonably requested by Bosch Solar. The information above is accurate.

 __________________________________                 _______________________________________________________
 Date                                               Signature
                                                    _______________________________________________________
                                                    Printed Name

 Please send this Claim Form as        Rojas v. Bosch Solar Energy                                                      Questions?
 soon as possible to:                  c/o Analytics Consulting LLC                                                   1-877-441-2792
                                       P.O. Box 2004                                                           www.RojasSolarSettlement.com
                                       Chanhassen, MN 55317-2004
